Case 2'04-cv-02482-.]PI\/|-tmp Document 9 Filed 05/10/05 Page 1 of 3 Page|D 22

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IN THE UNITED sTATEs DISTRICT coURT 95 life l U Ptt 3= 39
FoR THE WESTERN DIsTRIcT oF TENNESSEE

 

 

WESTERN DIVISION
JO CUNNINGHAM, )
Plaintiff, §
vs. l Case No. 04-2482-MI P
U.S. FOODSERVICE, INC. ))
Defendant. §

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to Rule 4l(a) of the Federal Rules of Civil Procedure, it appearing to the Court,
upon consent of the parties as evidenced by the signatures of their attorneys hereinbelow, that
Plaintiff Jo Cunningham and Defendant U.S. FoodService, Inc. have settled this case and that by
the parties’ agreement Plaintiff Cunningham’s claims as set forth in her complaint should be
dismissed with prejudice and each party should bear her or its’ own costs and fees.

IT IS, THEREFORE, ORDERED that Plaintiff Cunningham’s claims as set forth in the

complaint are dismissed in their entirety With prejudice and further that each party shall bear her

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. S. ISTRICT COURT JUDGE

`DATE: M`\ /O ,2@9“§

or their own costs and fees.

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APPROVED.'

    

JEFFE Y . CHLEY,
Counsel for PlaintifiC Jo Cunningharn

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PAULlE PRATHER 91 ?'=¢~M~v¢~:'°
SYLVIA R ADAMS “`
Attorneys for Defendant

U.S. FoodService, Inc.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02482 Was distributed by faX, mail, or direct printing on
May l 1, 2005 to the parties listed.

 

 

Paul E. Prather

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Phillis R. Morgan

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER
3725 Champion Hills Dr.

Ste. 3000

l\/lemphis7 TN 38125

Jeffery Atchley

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

l\/lemphis7 TN 3 8 l 04--3 62

Sylvia R. Adams

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Honorable J on McCalla
US DISTRICT COURT

